                      Case 2:10-cr-00365-JCM-PAL          Document 92        Filed 06/14/11      Page 1 of 2



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                                                     UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                       2:10-CV-365 JCM (PAL)
                  8      UNITED STATES OF AMERICA,

                  9                     Plaintiff,
                10       v.
                11
                         BRAD FUSSELL,
                12
                                        Defendant.
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                15                                                  ORDER
                16            Presently before the court is the government’s motion in limine to compel production of
                17     finger prints and palm print exemplars by defendant. (Doc. #83). To date, the defendant has not filed
                18     a response.
                19            The defendant is charged with conspiracy to distribute cocaine in violation of 21 U.S.C. §
                20     841(a)(1) and 841(b)(1)(A)(ii)(II). On April 1, 2011, the government’s attorney received a lab report
                21     indicating that the defendant’s fingerprints had been recovered from a package associated with the
                22     cocaine seized in the investigation of this case. The government has attached a copy of the report
                23     to the motion. (Doc. #83, ex. A). The government asserts that, although the defendant’s fingerprints
                24     have already been matched to prints recovered from packaging associated with the seized narcotics
                25     in the instant case, additional information is needed to make a more complete comparison.
                26            In support of its motion, the government contends that obtaining the defendant’s set of prints
                27     would expedite the trial process by precluding the need to call a third party witness. The government
                28
James C. Mahan
U.S. District Judge
                      Case 2:10-cr-00365-JCM-PAL           Document 92        Filed 06/14/11       Page 2 of 2



                  1    also preempts a Fifth Amendment based defense argument. The Fifth Amendment privilege against
                  2    compelled disclosure does not protect or prohibit the introduction of information obtained through
                  3    an examination or display of physical characteristics, and defendants have no Fifth Amendment right
                  4    against self-incrimination regarding the production of handwriting, printing and fingerprint
                  5    exemplars. Fernandez v. Rodriguez, 761 F. Supp. 2d 558 (10th Cir. 1985), citing Gilbert v.
                  6    California, 388 U.S. 263 (1967). Accordingly, the court may compel the defendant to produce the
                  7    requested evidence without infringing on his constitutional rights.
                  8           Because compelling the defendant to provide the requested exemplars does not violate the
                  9    defendant’s rights, and because compulsion will be in the best interest of judicial economy, this court
                10     hereby grants the government’s motion in limine to compel production of the defendant’s finger
                11     prints and palm print exemplars requested herein. The government further requests, and this court
                12     orders, that the defendant’s counsel, Paul Riddle, Esq., be present at the taking of the exemplar, and
                13     that the prints be provided in a timely manner so that the current trial date can be maintained.
                14            Accordingly,
                15            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s motion
                16     in limine to compel production of finger prints and palm print exemplars by the defendant (doc. #83)
                17     is hereby GRANTED.
                18            DATED June 14, 2011.
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                                                              UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                     -2-
